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     COMPANY
16
                                   UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
18                                    SAN FRANCISCO DIVISION

19
     UNITED STATES OF AMERICA,                          Case No. 14-CR-00175-WHA
20

21                                Plaintiff,            RESPONSE TO FOURTH FURTHER
                                                        REQUEST RE DIXIE FIRE
22
            v.                                          Judge: Hon. William Alsup
23
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

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                          RESPONSE TO FOURTH FURTHER REQUEST RE DIXIE FIRE
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 1                   Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

 2   response to the Court’s October 28, 2021 Fourth Further Request re Dixie Fire (Dkt. 1499).

 3                   Question 33:

 4                   Please answer the question fully concerning which phases the railroad
                     used. Even if the railroad was damaged by the fire, presumably enough
 5                   survived to detect which two phases were used by the railroad. Please
                     send an employee to the site and report back.
 6

 7   PG&E Response:

 8                   On Friday, October 29, the day after it received this Court’s order, PG&E dispatched

 9   an employee to review the entire Bucks Creek 1101 Line via helicopter, including the locations

10   where the railroad connects to the line. For the reasons explained, an identification of phases

11   requires a review of the line from the substation to the connection in question, and not merely an

12   inspection of the connection.

13                   The inspection was unable to identify the phases used by the railroad, for the reasons

14   explained below and in our previous submission. PG&E is working to integrate data from several

15   sources in an effort to provide the Court with a reliable answer and will update the Court as soon as

16   possible.

17                   a. As PG&E reported in its response to Question 25 (Dkt. No. 1497), PG&E’s

18   EDGIS database 1 reports that each of the three railroad locations used transformers that are served

19   by just two phases. The employee determined that, at each connection, the railroad ties into the

20   outer conductors on the pole. For each of the three railroad locations, PG&E submits herewith

21   various photographs taken during the aerial inspection, beginning with the transformer serving the

22   railroad site closest to the substation and ending with the transformer at the railroad site furthest

23   from the substation. See Exs. QQ, RR and SS.

24                   b. This information from the sites does not provide a basis to determine which two

25   phases served the railroad at each of its three metered sites on the Bucks Creek 1101 Line, for the

26
         1
27           EDGIS stands for Electric Distribution Geographical Information System.

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 1   following reasons:

 2                  First, the conductors do not bear physical phase labels at any of the railroad
 3   transformer locations.

 4                  Second, the position of the phases on the poles changes multiple times on the Bucks
 5   Creek circuit, in order to balance the load (which is typical for a multi-phase line, as noted in

 6   PG&E’s response to Question 25). Thus, the identities of the two phases occupying the outer

 7   positions at one railroad transformer are not necessarily the same as the phases occupying the outer

 8   positions at the other railroad locations. Between the first and third railroad tie-in, the employee

 9   identified two apparent phase transpositions—one between each tie-in. (Photographs of these two

10   transpositions are included in Exhibits WW and XX, noted below). If there are no other

11   transpositions between the first and third railroad tie-ins, then the phase configuration in this stretch

12   of the circuit would mean that the railroad tied into a different combination of phases at each of its

13   three tie-ins. Since there are only three possible combinations of phases, this would mean that, at

14   one location, the railroad tied into phases A & B; at another location, phases A & C; and at the

15   remaining location, phases B & C.

16                  From the substation to the end of the line, the PG&E employee identified seven poles

17   where he observed an apparent transposition of the location of the phases, including five locations

18   between the substation and the railroad site furthest from the substation. 2 For each of these apparent

19   transposition poles, PG&E submits herewith various photographs taken during the aerial inspection,

20   beginning with the apparent transposition pole closest to the substation and ending with the apparent

21   transposition pole furthest from the substation. See Exs. TT through ZZ.
22                  It is possible that on July 13, 2021, there were additional phase transposition points

23   not visible to the PG&E employee during the aerial inspection on October 29. The employee

24   identified numerous locations where poles and/or wires were down on the ground, and/or poles

25

26       2
           The PG&E employee began his aerial inspection at the first pole load side and across the river
27   from the substation.

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 1   suffered fire damage; PG&E is in the process of determining whether any of this damage to the line

 2   impacts the reliability of the identification of phase transpositions. Missing even one transposition

 3   would make the entire phase map downstream of that location inaccurate.

 4                   As examples of such damage, PG&E submits herewith various photographs taken

 5   during the aerial inspection of the damage to the line at four of these locations, between the second

 6   railroad site and the railroad site furthest from the substation, beginning with a photograph of the

 7   location closest to the second railroad site and ending with the location closest to the third railroad

 8   site. See Ex. AAA.
 9                   During the aerial inspection the PG&E employee also identified several locations

10   downstream of the railroad tie-ins, where the wires had been removed entirely (as part of PG&E’s

11   work to make the area safe after the fire, or to preserve evidence). PG&E submits herewith various

12   photographs taken during the aerial inspection showing two of these locations. See Ex. BBB.
13                   Third, in order to reliably trace the identity of the phases on the line to the RT
14   SCADA data,3 PG&E must also reliably identify the label (A, B or C) applied by the line recloser to

15   each of those phases when it recorded oscillography and/or reported data to the RT SCADA system.

16   With an energized line, PG&E can readily confirm by electronic means whether the physical label at

17   the substation for each phase and the label applied by the recloser are the same; PG&E is currently

18   confirming whether this can be done reliably for this de-energized line.

19                   As noted above, PG&E is working now to combine multiple sources of information—

20   including the information obtained through the aerial inspection showing where certain transposition

21   occurs, where certain ties-ins occur, and where poles and lines are down or missing, as well as pre-

22   fire imagery collected for other purposes—in an attempt to identify reliably all transpositions and

23   which two phases as labeled by the line recloser were used at each of the railroad locations on July

24   13, 2021. PG&E will update the Court with the conclusions it is able to reach.

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         3
27           RT SCADA is the name of the Supervisory Control and Data Acquisition Application.

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 1                  Question 34:

 2                  On July 13, at 1412, the Chico Troubleman told NDCC Operator #2,
                    “Sounds like you got a little fire up in the canyon” (Dkt. No. 1474, Exh.
 3                  JJ-16). To what fire and what canyon was the Chico Troubleman
                    referring? Name the source of the information.
 4

 5   PG&E Response:

 6                  As PG&E reported in Dkt. 1478, the 14:12 time listed on the call in Dkt. 1474-17

 7   (Ex. JJ-16) is erroneous. The time was incorrectly transcribed by the service that transcribed the

 8   calls. PG&E corrected the error on September 23 (Dkt. 1478) and filed with the Court a corrected

 9   version of Ex. JJ-16 (Dkt. 1478-1).

10                  PG&E’s records reflect that the call in Ex. JJ-16 occurred at 17:18 hours. That time

11   is corroborated by the substance of the call itself: The person described as the Chico Troubleman

12   (who was not involved in responding to the Cresta Dam outage or the Dixie fire) reports that he had

13   just performed an unrelated operation at 17:15 hours.

14                  The Chico Troubleman who made the call confirms that the “fire” he mentioned

15   during his 17:18 communication was what subsequently became known as the Dixie Fire and “the

16   canyon” was the Feather River Canyon; he said on the call it “sounds like you got a little fire” there

17   because he had either heard, or heard about, the initial radio calls reporting a small fire in the

18   canyon.

19                  Question 35:

20                  Provide the following documents, referenced at:

21                  i. Dkt. No. 1479-1 at 12: Attachment 2, “Integrated SCADA Alarm Summary Table.”
                    ii. Id. at 73: TD-2700P-11, “Testing and Sectionalizing Distribution Equipment.”
22                  iii. Id. at 81: Attachment 1, Exhibit B and SCADA Examples.
                    iv. Dkt. No. 1479-3 at 88: Utility Standard TD-2800S, “Distribution SCADA System
23                  Operations and Protocol.”
24
     PG&E Response:
25
                    Attached hereto as Exhibits CCC-1 through CCC-4 are the requested documents.
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                                                       ***
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 1                 With respect to the Court’s clarification regarding the requested summary of

 2   documents submitted in response to Question 2 in the Court’s Order for Further Responses re Dixie

 3   Fire (Dkt. 1470), PG&E will provide on November 4, 2021 a summary of the documents previously

 4   provided and, going forward, will provide a summary when additional documents, if any, are

 5   produced.

 6

 7

 8    Dated: November 1, 2021                                 Respectfully Submitted,

 9                                                            JENNER & BLOCK LLP
10

11                                                         By:    /s/ Reid J. Schar
                                                                 Reid J. Schar (pro hac vice)
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14
                                                           By:    /s/ Kevin J. Orsini
15                                                               Kevin J. Orsini (pro hac vice)

16                                                            CLARENCE DYER & COHEN LLP
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                                                           By:    /s/ Kate Dyer
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20                                                         Attorneys for Defendant PACIFIC GAS AND
                                                           ELECTRIC COMPANY
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